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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW YORK et al.,

        Plaintiffs,

 v.                                                         Civil Action No. 18-cv-1747 (JDB)

 UNITED STATES DEPARTMENT OF
 LABOR et al.,

        Defendants.



                                    NOTICE OF ERRATA

       The Department respectfully submits this Notice of Errata to correct a typographical error in

footnote 18 on page 46 of its Memorandum of Law in Support of Defendants’ Motion to Dismiss, or

in the Alternative, Cross-Motion for Summary Judgment and in Opposition to Plaintiffs’ Motion for

Summary Judgment. Attached is the corrected brief.



Dated: October 31, 2018                       Respectfully submitted,


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